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                          DEPARTMENT OF LAW
                          OFFICE OF THE CORPORATION COUNSEL
                          CITY OF SYRACUSE, MAYOR BEN WALSH



                          June 24, 2022

Susan R. Katzoff          VIA ELECTRONIC FILING
Corporation Counsel       Hon. Andrew T. Baxter, U.S. Magistrate Judge
                          Federal Building and U.S. Courthouse
Joseph W. Barry III
First Assistant
                          P.O. Box 7346
Corporation Counsel       Syracuse, New York 13261

Lee R. Terry              Re:          Jones v. City of Syracuse, et al.,
Senior Assistant                       Civil Action No. 5:20-CV-00340 (FJS/ATB)
Corporation Counsel

Todd M. Long              Dear Judge Baxter:
Senior Assistant
Corporation Counsel       The parties hereby submit a status update with a proposed pre-trial schedule for the
Catherine E. Carnrike     above-referenced matter in accordance with your June 16, 2022 Text Order (Doc. 35).
Meghan E. Ryan            First, as you are aware from the docket, the parties were able stipulate—and the Court so
Amanda R. Harrington      ordered—that Plaintiff’s Complaint would be construed to plead a federal malicious
John C. Black Jr.         prosecution claim (Doc. 37). Second, the parties propose the following pre-trial schedule
Ramona L. Rabeler
Sarah M. Knickerbocker    deadlines:
Danielle B. Pires
Patrick J. Parkinson              Fact Discovery                      December 24, 2022
Danielle R. Smith
Shannon L. Bausinger              Mediation                           January 23, 2023
Zachary A. Waksman
John J. Connor                    Plaintiff’s Expert Disclosure       February 22, 2023
                                  Defendant’s Expert Disclosure       April 10, 2023
                                  Rebuttal Expert Disclosure          April 25, 2023
                                  All discovery                       June 15, 2023
                                  Dispositive Motions                 August 14, 2023
Department of Law
Office of Corp. Counsel
233 E. Washington St.     Thank you very much for your consideration.
City Hall, Room 300
Syracuse, N.Y. 13202      Respectfully submitted,
Office 315 448-8400
Fax 315 448-8381          /s/Danielle B. Pires
Email law@syrgov.net      Assistant Corporation Counsel

www.syrgov.net            DBP/
                          cc:       all counsel of record via ECF




                                          Service of papers or process by facsimile or other electronic method is not acceptable.
